
PER CURIAM.
The Department of Corrections appeals the final judgment in favor of Appellee in this retaliatory discharge case. The Department argues that the trial court erred in denying its motions for directed verdict because Appellee failed to prove a causal link between her firing and a prior discrimination suit she filed against the Department. We agree because the "cat's paw" theory of liability advanced by Appellee at trial is largely foreclosed by this court's decision in State v. Bracewell , 220 So.3d 1228 (Fla. 1st DCA 2017),1 and was not otherwise supported by the evidence. Accordingly, we reverse the final judgment and remand for entry of judgment in favor of the Department.
REVERSED and REMANDED with instructions
Wolf, Lewis, and Wetherell, JJ., concur.

The trial court did not have the benefit of the Bracewell opinion at the time of the trial.

